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 4
 5                            UNITED STATES DISTRICT COURT
 6                        EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,                )
 8                                             )     NO. CR-07-2021-EFS-4
                        Plaintiff,             )
 9                                             )     ORDER GRANTING MOTION TO
            v.                                 )     REOPEN DETENTION (Ct Rec.
10                                             )     50) GRANTING MOTION FOR
      RAMON SOLOREA-ALVAREZ,                   )     EXPEDITED HEARING (Ct. Rec.
11                                             )     53) AND DENYING MOTION FOR
                        Defendant.             )     RELEASE (Ct Rec. 57)
12                                             )

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           On April 26, 2007, this court held a bail review hearing.
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     James Hagarty, Esq., appeared for the government.                Defendant was
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     present with counsel Alex Hernandez, Esq.
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           The defendant moved to reopen detention and made a motion for
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     an expedited hearing.
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           The Court granted defendant’s motion to reopen detention (Ct
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     Rec. 50) and granted the motion to expedite (Ct. Rec. 53).
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           Counsel for the defendant moved for the defendant’s release
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     stating there are conditions which would assure defendant’s
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     appearance as required.
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           The government argued there are no conditions which justify
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     reconsidering the issue of bail.
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           The Court found there remains an absence of condition or
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     conditions that could be imposed that would reasonably assure this
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     defendant's presence at trial and further, that the evidence is
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     ORDER GRANTING MOTION TO REOPEN DETENTION
     GRANTING MOTION FOR EXPEDITED HEARING
     AND DENYING ORAL MOTION FOR RELEASE - 1
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 1   clear and convincing that there are no conditions that could be
 2   imposed which would protect community safety.
 3         The Court denied defendant’s motion for release (Ct Rec. 57).
 4         IT IS SO ORDERED.
 5         DATED this 26th day of April, 2007.
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                                                  s/ MICHAEL W. LEAVITT
 8                                          United States Magistrate Judge
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     ORDER GRANTING MOTION TO REOPEN DETENTION
     GRANTING MOTION FOR EXPEDITED HEARING
     AND DENYING ORAL MOTION FOR RELEASE - 2
